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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 1:20-cv-3489

THERESA WERNIMONT,

       Plaintiff,

v.

COLORADO STATE UNIVERSITY, through its BOARD OF GOVERNORS OF THE
COLORADO STATE UNIVERSITY SYSTEM, a body corporate,

      Defendant.
______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________


       Plaintiff Theresa Wernimont for her Complaint states:

                                       INTRODUCTION

1.     This is an employment discrimination and retaliation suit brought by a female non-tenure

track faculty member employed by Defendant Colorado State University who has taught in

CSU’s College of Business, Department of Management, at the Fort Collins campus from 2007

to the present.

2.     Plaintiff brings claims of sex discrimination and retaliation, in violation of Title VII of

the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”), as well as a
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claim of sex-based pay discrimination pursuant to the Equal Pay Act of 1963, as amended, 29

U.S.C. § 206(d) (“EPA”).

                                           PARTIES

3.     Plaintiff Theresa Wernimont is a resident of the State of Colorado.

4.     Defendant Board of Governors of the Colorado State University System (“CSU”) is a

state-sponsored institution of higher education organized under Article VIII, Section 5 of the

Colorado Constitution and Title 23, Article 30 of the Colorado Revised Statutes, C.R.S. § 23-30-

101, et seq.

                                   JURISDICTION AND VENUE

5.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 and specifically under

Title VII, as amended, 42 U.S.C. § 2000e et seq., and the EPA, 29 U.S.C. § 206(d).

6.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because the

employment practices alleged to be unlawful were committed in the District of Colorado.

7.     At all relevant times, Defendant CSU was covered by the definitions of “employer” set

forth in 42 U.S.C. § 2000e(b) of Title VII and 29 U.S.C. § 203(d) of the Fair Labor Standards

Act, of which the EPA is a part.

                                   SPECIFIC ALLEGATIONS

8.     Plaintiff is a female.

9.     Plaintiff has been employed by Colorado State University (“CSU”) from 2007 to the

present.




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10.    Plaintiff received her Bachelor of Science in Business Administration and her Master of

Business Administration from CSU. In addition, Ms. Wernimont has extensive work experience

and a background as an entrepreneur.

11.    Plaintiff is currently a non-tenure track faculty member within the College of Business at

CSU Fort Collins.

12.    The College of Business (“COB”) is one of eight colleges within CSU and is comprised

of five academic departments: Accounting; Computer Information Systems; Finance & Real

Estate; Management; and Marketing.

13.    The COB hires non-tenure track faculty to teach many of its undergraduate and

introductory courses. The COB frequently hires individuals for non-tenure track positions who

have extensive experience in business.

14.    As of 2019, non-tenure track faculty at CSU are classified as Adjunct faculty, with

Temporary Appointments or Special Appointments (either Contract or Continuing

Appointments). At the University level, such non-tenure track faculty ranks are referred to as

Instructors, Senior Instructors and Master Instructors.

15.    Within the COB, non-tenure track faculty are given their own titles: Instructors are

referred to as Instructors; Senior Instructors are referred to as Senior Lecturers; and Master

Instructors are referred to as Master Lecturers or Clinical Professors (if they have a PhD).

16.    Ms. Wernimont currently has a Continuous Appointment as a Senior Instructor at CSU

and holds a COB title of Senior Lecturer in the Department of Management. She teaches

undergraduate classes in business writing (BUS 300 – Business Writing and Communication)

which is a required course in the undergraduate business curriculum.


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17.    Ms. Wernimont is currently being paid $58,132 for the 2020-2021 school year. She is the

lowest paid full-time faculty member in the COB.

18.    Even though the COB policies state that it sets salary for COB faculty based on a

comparison of salaries for business school faculty at peer institutions, COB has not set the salary

for Ms. Wernimont and her fellow non-tenured faculty members who teach BUS 300 according

to such salary bench marks.

19.    Ms. Wernimont has repeatedly raised her concerns of unequal pay with multiple CSU

administrators about how female non-tenure track faculty have been treated less favorably in the

COB, especially in comparison to male non-tenure track faculty in the COB.

20.    Ms. Wernimont has been repeatedly retaliated against for having raised her concerns

regarding sex discrimination at the COB. She has been retaliated against in a variety of ways,

including, but not limited to: being denied pay raises; being paid less for the courses taught;

being paid less for course coordination duties; being denied promotions; being denied the

opportunity to teach upper level classes; being given lower performance ratings on her

performance reviews; and having her full-time status changed to part-time status.

21.    From 2013 to 2019, Ms. Wernimont has been repeatedly denied the opportunity for

promotion to the next level in the career track for non-tenured faculty members. As there was no

formal process to apply for promotion for non-tenure track faculty members, Ms. Wernimont had

to informally ask her department chairs to promote her to the next level.

22.     This informal promotion practice has resulted in the non-tenured faculty career track

consisting of instructor, lecturer, and clinical professor being inconsistently applied during Ms.

Wernimont’s employment from 2007 to 2019.


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23.     For example, male non-tenured faculty in the COB, including Burt Deines, Bill Shuster,

and Paul Vanderspek, who have comparable educational and work backgrounds to Ms.

Wernimont, were promoted to clinical professors and paid much higher salaries.

24.     Even though non-tenure track faculty members Burt Deines, Bill Shuster and Paul

Vanderspek have since had the title of Clinical Professor taken away because they did not have a

PhD, they have been given the title of Master Lecturer and have not had their salaries reduced.

25.     Ms. Wernimont was repeatedly denied the opportunity to be promoted from “Instructor”

to “Lecturer,” with 90% teaching and 10% service, even though she had been teaching since

2007 and performing the duties of Course Coordinator (considered service for all other full-time

faculty) from 2013 to 2019.

26.     Ms. Wernimont was also discriminated against because of her sex with respect to

teaching assignments. For example, male non-tenured faculty members in the COB have

received more favorable teaching assignments, i.e., they are assigned to teach upper division

courses that garner higher teaching evaluations.

27.     In contrast, Plaintiff and other female non-tenured faculty members are assigned to teach

undergraduate lower level courses such as BUS 300 and for which they are evaluated more

critically by students.

28.     Ms. Wernimont has requested to teach higher level management courses throughout her

tenure. However, she has been repeatedly denied the opportunity to teach other management

courses even though she possesses a broad background as an entrepreneur and significant

experience as an instructional coordinator/faculty in eight online MBA courses.

29.     For example, when Management Department faculty suggested that Ms. Wernimont


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teach MGT 320, 305 or 476, the Department Chair Lynn Shore declined to offer her these

opportunities and hired a male faculty member to teach such classes.

30.      In 2013, Ms. Wernimont started raising her concerns about the disparate treatment of

female non-tenure track faculty to the administration at CSU. She was specifically concerned

with how female non-tenure track faculty members were treated in comparison to male non-

tenure track faculty members in the College of Business, especially with respect to pay and

compensation and other terms and conditions of employment.

31.      In the spring of 2013, Dr. Dan Ganster, the COB Department Chair at that time, asked

Ms. Wernimont to take a leadership role in coordinating the BUS 300 classes as the prior male

faculty member, Dr. Gould, who handled the course coordination was retiring. Dr. Ganster

agreed to pay her the same as Dr. Gould.

32.      Ms. Wernimont agreed to assume the additional leadership responsibilities for BUS 300

provided that she was paid $52,000 for the year or $6,500 per class per semester for four courses

and the additional course coordinator duties. This was the same amount that was paid to Dr.

Gould.

33.      On July 13, 2013, there was a change in leadership within the COB and Dr. Lynn Shore

became the new Management Department Chair.

34.      In August 2013, just a week before fall 2013 classes were scheduled to start, Dr. Shore

provided Ms. Wernimont with an offer letter and listed her base salary at $18,000 per semester

which is only $4,500 per class for four classes each semester. In addition, she was not given any

additional compensation for the course coordinator duties.

35.      Ms. Wernimont protested her pay and advised Dr. Shore that Dr. Ganster had promised to


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pay her $6,500 per class per semester which is what her male predecessor had been paid for such

duties.

36.       Dr. Shore refused to increase Ms. Wernimont’s pay.

37.       Dr. Shore refused to provide an increase in Ms. Wernimont’s compensation until she was

required to increase Ms. Wernimont’s pay to $5,000 per class as that was the new minimum set

by the administration for all non-tenured faculty teaching classes at CSU.

38.       Simultaneously, Ms. Wernimont questioned Dr. Shore’s decision to promote a male non-

tenure track faculty member named Burt Deines from Instructor on a Temporary Appointment to

Special Appointment with a contract, title of Clinical Professor and salary of $72,000 per school

year.

39.       Mr. Deines and Ms. Wernimont have worked for CSU as non-tenure track faculty

members for comparable amounts of time and have similar educational backgrounds as neither

have a terminal degree such as a Ph.D.

40.       Ms. Wernimont also raised the pay discrimination issue with the Dean of COB, Dr. Beth

Walker, in the fall of 2015.

41.       Dean Walker took no action to remedy Ms. Wernimont’s concerns about the pay

inequities being experienced by female non-tenure track faculty in the COB.

42.       In June 2016, Ms. Wernimont expressed her concerns again to Dr. Shore regarding the

inequities in her compensation.

43.       Dr. Shore retaliated against Ms. Wernimont by arbitrarily lowering the amount she would

be paid for courses from $6,000 per class in the spring of 2016 to $5,000 per class for the

summer of 2016.


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44.    Simultaneously, in of June 2016, Ms. Wernimont’s status was due to be converted from a

“Temporary Appointment” to a “Special Appointment” to comply with CSU’s Faculty Manual

regarding classification of non-tenure track faculty.

45.    At that time, Ms. Wernimont questioned Dr. Shore about why Dr. Shore was denying her

a raise and promotion in addition to changing her appointment from temporary to special. Ms.

Wernimont again questioned why she was being treated less favorably than comparable male

faculty, such as Burt Deines, who earned approximately $77,000 in base salary for the 2016-

2017 school year. In contrast, Ms. Wernimont was paid $48,000 in base salary for the 2016-2017

school year.

46.    On June 29, 2016, Ms. Wernimont met with Dean Walker and raised her concerns

regarding the continuing inequities in pay and promotions. Ms. Wernimont provided Dean

Walker with evidence of the disparity in pay between Mr. Deines and Ms. Wernimont.

47.    Dean Walker did not nothing to remedy Ms. Wernimont’s concerns.

48.    In fall 2017, Ms. Wernimont raised the issue of inequities in pay with Human Resources

Manager Chelsey Lane.

49.    Human Resources Manager Chelsey Lane did nothing to remedy Ms. Wernimont’s

concerns.

50.    In December 2017, Ms. Wernimont communicated with the Associate Dean of the COB,

Dr. Ken Manning, and raised her concerns regarding inequity in pay, including the failure to

properly compensate her for taking over classes for an instructor who had been deployed by

FEMA, as well as her continuing failure to be compensated for course coordination.

51.    Associate Dean Ken Manning did not address the overall concerns regarding pay and


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promotion issues but did address Ms. Wernimont’s concerns regarding the pay for taking on

additional classes for the instructor who had been deployed and acknowledged the pay issue for

course coordination.

52.    In April 2018, Dr. Shore gave Ms. Wernimont her annual performance evaluation for

2017 and rated her as “meets expectations” even though the department’s review committee had

rated Ms. Wernimont as “exceeds expectations.”

53.    Dr. Shore refused to change the rating on the performance evaluation even though she

had never even observed Ms. Wernimont teaching any of her classes.

54.    Dr. Shore also kept a secret file of alleged student complaints about Ms. Wernimont and

never bothered to discuss any of them with Ms. Wernimont.

55.    Even though the University had adopted some new guidelines for the employment of

non-tenure track faculty members in the spring of 2018, Dr. Shore refused to promote Ms.

Wernimont.

56.     Dr. Shore further retaliated against Ms. Wernimont by moving her office to a much less

desirable location in the Management department; failing to keep Ms. Wernimont informed of

important work-related information; excluding her from committee meetings; and manipulating

student comments and evaluations.

57.    Dr. Shore’s final act of retaliation before the end of her tenure as Management

Department Chair on June 30, 2018, was to send an employment letter dated June 25, 2018 to

Ms. Wernimont changing her status from full-time instructor to part-time instructor for the

2018-2019 school year.

58.    Dr. Shore claimed that she had to change Ms. Wernimont’s status from full-time to part-


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time because there was going to be a reduction in the number of writing classes taught at the

COB.

59.     Ms. Wernimont protested this change in status from full-time to part-time.

60.     Ms. Wernimont researched Dr. Shore’s assertion that there was going to be reduction in

the number of classes at the COB. Ms. Wernimont was able to verify through CSU’s

Undergraduate Advising that the same number of BUS 300 course sections as historically has

been offered would be offered in the 2018-2019 school year.

61.     On July 1, 2018, there was a change in leadership in the Management Department at

COB and Dr. Travis Maynard became the new Department Chair. Dr. Lynn Shore returned to

the faculty.

62.     The new Management Department Chair, Dr. Maynard, was required to revise the

employment letter and offer Ms. Wernimont a full-time position for the 2018-2019 school year.

However, Dr. Maynard advised Ms. Wernimont that he was only going to offer her a contract for

the fall semester of the 2018-2019 school year.

63.     On July 26, 2018, Ms. Wernimont and her fellow female non-tenured faculty member,

Dr. Jenny Morse, who also taught BUS 300, met with the new Management Department Chair

Travis Maynard and raised their concerns regarding sex discrimination and the retaliation that

they had experienced.

64.     In the meeting on July 26, 2018, Dr. Maynard suggested for the first time that their pay

was not comparable to other business school faculty but was more in line with the compensation

for liberal arts faculty who taught writing courses.

65.     On August 6, 2018, Ms. Wernimont met with Dr. Maynard again and specifically raised


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the disparity in pay and promotions, especially between her and Burt Deines, the male non-

tenured faculty member who had been promoted and given substantial pay increases.

66.    Ms. Wernimont also pointed out that the COB policies state that it sets salaries for COB

faculty based on a comparison of salaries for business school faculty at peer institutions and that

comparing the BUS 300 writing course to the English Department writing courses was

inappropriate. Moreover, Ms. Wernimont provided evidence that other business schools at peer

institutions had business school faculty who taught business communication courses as well.

67.    On September 18, 2018, Ms. Wernimont and Dr. Jenny Morse met with Vice Provost

Dan Bush and raised their concerns regarding sex discrimination against female non-tenure

track faculty members in the COB.

68.    At that meeting, Ms. Wernimont gave Vice Provost Bush a spreadsheet reflecting the

disparity in pay between male and female non-tenure track faculty members in the COB. She

noted that she and Dr. Morse were among the lowest paid of the full-time non-tenure track

faculty members in the COB.

69.    Vice Provost Bush took no action to remedy Ms. Wernimont and Dr. Morse’s concerns.

70.    In the summer and fall of 2018, Ms. Wernimont communicated with University

Grievance Officer Richard Eykholt about the continuing mistreatment that she was experiencing

at COB, including Dr. Shore’s efforts to reduce her from full-time to part-time status and Dr.

Maynard’s decision to offer Ms. Wernimont a contract for the 2018 fall semester only.

71.    Dr. Eykholt was able to convince Dr. Maynard to offer a full teaching load to Ms.

Wernimont for the 2018-2019 school year

72.    In the fall of 2018, Ms. Wernimont continued to seek remedies for the University’s


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failure to compensate her properly for the course coordination duties that she had performed for

years.

73.      On January 10, 2019, Dr. Travis advised Ms. Wernimont that he was only going to pay

her $750 for her course coordinator duties.

74.      On January 14, 2019, Ms. Wernimont sent an email to Dr. Maynard questioning the

amount of supplemental pay that CSU was proposing to pay her for course coordination. At that

time, Ms. Wernimont provided information regarding the higher compensation being paid to

male full-time instructors who had course coordinator duties.

75.      Ms. Wernimont again attempted to raise her concerns regarding the systemic sex

discrimination against female non-tenure track faculty within the COB with the University

Grievance Officer Richard Eykholt and asked about filing a grievance to address the inequities in

pay through CSU’s faculty grievance procedures.

76.      Dr. Eykholt told Ms. Wernimont that he would not assist her in filing a grievance

regarding the inequities in pay at COB experienced by female non-tenure track faculty as he did

not consider it politically appropriate to address those concerns in that forum.

77.      Having raised her concerns regarding sex discrimination with multiple administrators

with no resolution and having been retaliated against for having raised such concerns, Ms.

Wernimont made the decision to file a charge of discrimination with the Equal Employment

Opportunity Commission.

78.      On January 29, 2019, Plaintiff filed her charge of discrimination with the U.S. Equal

Employment Opportunity Commission (“EEOC”).




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79.    On February 14, 2019, Dr. Travis Maynard was informed that Ms. Wernimont had filed a

charge of sex discrimination with the EEOC.

80.    On February 27, 2019, Dr. Maynard conducted Ms. Wernimont’s performance evaluation

for 2018. Dr. Maynard rated her as “below expectations,” even though he had never even

observed Ms. Wernimont teaching any of her classes. Moreover, he had continued his

predecessor Dr. Shore’s practice of keeping a secret file of alleged student complaints including

the ones compiled by his predecessor Dr. Shore.

81.    Per University policy, Ms. Wernimont filed a grievance regarding the performance

evaluation with the University’s Grievance Officer Richard Eykholt and requested a hearing

before a University Grievance Committee.

82.    The University Grievance Committee held a hearing and issued written findings in

support of Ms. Wernimont. The University Grievance Committee found that Dr. Maynard had

conducted his review in an unfair and unreasonable manner and that Ms. Wernimont’s

performance exceeded expectations.

83.    Ultimately, the University Grievance Committee’s decision was upheld by Provost Rick

Miranda and President Tony Frank.

84.    Despite the favorable finding in Ms. Wernimont’s favor, the change in her performance

evaluation did not result in a change in her compensation or her job title.

85.    Ms. Wernimont continues to be paid substantially less than the full-time male non-tenure

track faculty members in the COB.

86.    In spring 2019, the COB further redefined the classifications of non-tenure track faculty.

87.    The 2019 non-tenure track faculty framework provides that non-tenure track faculty will


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be classified as either Instructor, Senior Instructor, or Master Instructor, depending on an

instructor’s years of service.

88.      Ms. Wernimont was classified as a Senior Instructor with four years credit toward the

rank of Master Instructor based on the new classifications. However, she was not given any

increase in compensation.

89.      The University and the COB made no effort to address the disparity in pay between non-

tenured faculty members within the new non-tenure track faculty framework.

90.      For the 2019-2020 school year, Ms. Wernimont earned $58,132 for her base salary.

91.      She did not receive a raise in her base salary for the 2020-2021 school year and

continues to be paid $58,132.

92.      In contrast, the average male full-time non-tenure track faculty member at the Senior

Instructor level in the COB has been paid approximately $92,000 each year from 2019 to the

present.

93.      The EEOC issued a Notice of Right to Sue for Plaintiff’s charge of discrimination on

September 1, 2020.

                                   STATEMENT OF CLAIMS



                                  FIRST CLAIM FOR RELIEF

      (Sex discrimination in violation of Title VII of the Civil Rights Act of 1964, as amended)


94.      The foregoing allegations are realleged and incorporated herein by reference.

95.      CSU subjected Plaintiff to less favorable terms and conditions of her employment based

on sex as described in this Complaint, including but not limited to: paying Plaintiff less than her

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male peers; denying advancement opportunities, promotions and raises to Plaintiff; denying

Plaintiff the opportunity to teach upper level classes; denying Plaintiff resources; and providing

Plaintiff with negative performance evaluations.

96.    CSU’s conduct discriminated against Plaintiff based on her sex in violation of 42 U.S.C.

§ 2000e-2(a) of Title VII.

97.    As a direct and proximate result of CSU’s actions, Plaintiff has suffered damages,

including lost wages and benefits, diminished reputation and other pecuniary losses, and

emotional pain and suffering, mental anguish, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses.

                                SECOND CLAIM FOR RELIEF

        (Retaliation in violation of Title VII of the Civil Rights Act of 1964, as amended)



98.    The foregoing allegations are realleged and incorporated herein by reference.

99.    Plaintiff participated in statutorily protected activity by opposing practices targeted at her

that were unlawful under Title VII, including discrimination based on sex.

100.   As a result of Plaintiff’s protected opposition to discrimination, CSU retaliated against

her by subjecting her to the different terms and conditions of employment as described in this

Complaint, including, but not limited to: failing to provide increases in compensation; denying

advancement opportunities, promotions and raises to Plaintiff; decreasing the compensation paid

to Plaintiff; denying Plaintiff the opportunity to teach upper level classes; denying Plaintiff

resources; and providing Plaintiff with negative performance evaluations.

101.   CSU’s conduct violated 42 U.S.C. § 2000e-3(a) of Title VII.


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102.    As a direct and proximate result of CSU’s actions, Plaintiff has suffered damages,

including lost wages and benefits, diminished reputation and other pecuniary losses, and

emotional pain and suffering, mental anguish, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses.

                                  THIRD CLAIM FOR RELIEF

    (Sex-Based Wage Discrimination in violation of the Equal Pay Act of 1963, as amended)



103.    The foregoing allegations are realleged and incorporated herein by reference.

104.    During her employment with CSU as a non-tenured faculty member, Plaintiff was

performing work that was substantially equal to one or more male non-tenured faculty members

considering the skills, duties, supervision, effort, and responsibilities of that role.

105.    The conditions where the work was performed by Plaintiff and one or more male non-

tenured faculty members was basically the same.

106.    One or more male non-tenured faculty members was paid more than Plaintiff under such

circumstances.

107.    CSU either knew or showed reckless disregard for the matter of whether its conduct was

prohibited by the EPA.

108.    As a direct and proximate result of CSU’s actions, Plaintiff has suffered damages,

including lost wages and benefits.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Theresa Wernimont respectfully requests that this Court enter

judgment in her favor and against Defendant CSU and order the following relief as allowed by


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law:


       A.      Back pay and benefits;

       B.      Promotion to a higher non-tenure track faculty position with commensurate pay

               and benefits;

       C.      Compensatory damages, including but not limited to those for emotional distress,

inconvenience, mental anguish, and loss of enjoyment of life;

       D.      Liquidated damages;

       E.      Injunctive and/or declaratory relief;

       F.      Attorney fees and costs of the action, including expert witness fees, as

appropriate;

       G.      Pre-judgment and post-judgment interest at the highest lawful rate; and

       H.      Such further relief as justice allows.

PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.


       Respectfully submitted November 25, 2020.




                                      By:     SWEENEY & BECHTOLD, LLC

                                              s/Madeline A. Collison
                                              650 S. Cherry St., Ste. 700
                                              Denver, Colorado 80246
                                              Telephone: (303) 865-3733
                                              Fax: (303) 865-3738
                                              E-mail: macollison@sweeneybechtold.com

                                              ATTORNEYS FOR PLAINTIFF



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Plaintiff’s Address:
824 Warren Landing
Fort Collins, CO 80525




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                        CERTIFICATION OF GOOD STANDING

      I hereby certify that I am a member in good standing of the bar of this Court.



                                 By:        SWEENEY & BECHTOLD, LLC

                                            s/Madeline A. Collison
                                            650 S. Cherry St., Ste. 700
                                            Denver, CO 80246
                                            Telephone: (303) 865-3733
                                            Fax: (303) 865-3738
                                            E-mail: macollison@sweeneybechtold.com

                                            ATTORNEYS FOR PLAINTIFF




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